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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEBRASKA

                                                                             )
In re:                                                                       )   Chapter 11
                                                                             )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,1                               )   Case No. 19-80064 (TLS)
                                                                             )
                             Debtors.                                        )   (Jointly Administered)
                                                                             )
                                                                             )   Re: Docket No. 160

                    ORDER (I) ESTABLISHING PROCEDURES FOR
            INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES
         FOR RETAINED PROFESSIONALS, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”) for entry of an order (this “Order”) authorizing the

 Debtors to establish procedures for interim compensation and compensation and reimbursement

 of expenses for Retained Professionals, all as more fully set forth in the Motion; and upon the

 First Day Declaration; and this Court having found that it has jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334 and Nebraska General Rule 1.5 of the United States

 District Court for the District of Nebraska; and the Court having found that this is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that this Court having

 found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

 §§ 1408 and 1409; and the Court having found that the relief requested in the Motion is in the

 best interests of the Debtors’ estates, their creditors, and other parties in interest; and the Court

 1       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, include: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157);
         Pamida Transportation LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526);
         Retained R/E SPE, LLC (6679); Shopko Finance, LLC (1152); ShopKo Gift Card Co., LLC (2161); ShopKo
         Holding Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical
         Manufacturing, LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS
         Trucking, LLC (0592);. The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay,
         Wisconsin 54304.
 2       Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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having found that the Debtors provided appropriate notice of the Motion and the opportunity for

a hearing on the Motion under the circumstances; and the Court having reviewed the Motion and

having heard the statements in support of the relief requested therein at a hearing, if any, before

the Court (the “Hearing”); and the Court having determined that the legal and factual bases set

forth in the Motion and at the Hearing establish just cause for the relief granted herein; and upon

all of the proceedings had before the Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      All Retained Professionals in these cases may seek compensation in accordance

with the following procedures (collectively, the “Compensation Procedures”):

       a.      On or after the 21st day of each month following the month for which
               compensation is sought, each Retained Professional seeking compensation may
               file an application (each, a “Monthly Fee Statement”) for interim allowance of
               compensation for services rendered and reimbursement of expenses incurred
               during the preceding month, and serve such Monthly Fee Statement by hand or
               overnight delivery, on: (i) the Debtors, Specialty Retail Shops Holding Corp., 700
               Pilgrim Way, Green Bay, Wisconsin, 54304, Attn: Susan Buckna, General
               Counsel; (ii) proposed counsel to the Debtors, Kirkland & Ellis LLP, 300 North
               LaSalle, Chicago, Illinois 60654, Attn: Robert McLellarn, Esq.; Kirkland & Ellis
               LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Daniel
               Rudewicz, Esq. (iii) proposed co-counsel to the Debtors, McGrath North Mullin
               & Kratz, P.C. LLO, 1601 Dodge St., Omaha, Nebraska 68102, Attn: James
               Niemeier, Esq.; (iv) the Office of the United States Trustee for the District of
               Nebraska, 111 South 18th Plaza, # 1125 Omaha, Nebraska 68102, Attn: Jerry
               Jensen, Esq.; (v) counsel to Wells Fargo Bank, N.A., Otterbourg P.C., 230 Park
               Avenue, New York, New York 10169, Attn: Chad Simon, Esq. and Daniel
               Fiorillo, Esq.; (vi) counsel to Shopko Note Holding, LLC successor to Spirit
               Realty L.P., Fried, Frank, Harris, Shriver & Jacobson LLP, One New York Plaza,
               New York, New York 10004, Attn: Peter Siroka; (vii) proposed counsel to the
               Committee, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th Floor,
               New York, New York 10017, Attn: Robert J. Feinstein and Bradford J. Sandler
               and Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor,
               Los Angeles, California 90067, Attn: Jeffrey N. Pomerantz; and (viii) proposed
               co-counsel to the Committee, Goosmann Law Firm, PLC, The Advent Building,
               Suite 250, Omaha, NE 68118, Attn: Elizabeth M. Lally, Jeana Goosmann, and
               Joel Carney (collectively, the “Application Recipients”)

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      b.    Each Application Recipient will have until 12:00 p.m. (prevailing Central Time)
            14 days after service of a Monthly Fee Statement to review the Monthly Fee
            Statement. Upon expiration of such 14-day period, a Retained Professional may
            file a certificate of no objection with the Court with respect to the unopposed
            portion of the fees and expenses requested in its Monthly Fee Statement (each,
            a “CNO”). After a CNO is filed with the Court, the Debtors are authorized and
            directed to pay the Retained Professional an amount (the “Actual Monthly
            Payment”) equal to 80 percent of the fees and 100 percent of the expenses
            requested in the applicable Monthly Fee Statement (the “Maximum Monthly
            Payment”) that are not subject to an objection pursuant to subparagraph (c) below.

      c.    If any Application Recipient objects to a Monthly Fee Statement, the objecting
            party shall, within 14 days of service of the Monthly Fee Statement, serve a
            written notice upon the respective Retained Professional and each of the other
            Application Recipients (the “Notice of Objection to Monthly Fee Statement”)
            setting forth the precise nature of the objection and the amount at issue.
            Thereafter, the objecting party and the Retained Professional shall attempt to
            resolve the objection on a consensual basis. If the parties reach an agreement, the
            Debtors shall promptly pay 80 percent of the agreed-upon fees and 100 percent of
            the agreed-upon expenses. If, however, the parties are unable to reach a
            resolution of the objection within 14 days after service of the Notice of Objection
            to Monthly Fee Statement, the objecting party shall file its objection (the
            “Objection”) with the Court within 3 business days and serve such Objection on
            the respective Retained Professional and each of the other Application Recipients.
            Thereafter, the Retained Professional may either (i) file with the Court a response
            to the Objection, together with a request for payment of the difference, if any,
            between the Maximum Monthly Payment and the Actual Monthly Payment made
            to the affected Retained Professional (the “Disputed Amount”), or (ii) forego
            payment of the Disputed Amount until the next hearing on an Interim Fee
            Application or Final Fee Application (each as defined herein), at which time the
            Court will consider the Objection, if requested by the parties.

      d.    Each Retained Professional may submit its first Monthly Fee Statement no earlier
            than February 28, 2019. This initial Monthly Fee Statement will cover the period
            from the Petition Date through January 31, 2019. Thereafter, the Retained
            Professionals may file Monthly Fee Statements in the manner described above.

      e.    Beginning with the period ending on March 31, 2019, and at three-month
            intervals thereafter (each, an “Interim Fee Period”), each of the Retained
            Professionals may file and serve on the Application Recipients an interim fee
            application (each an “Interim Fee Application”) for payment of compensation and
            reimbursement of expenses sought in the Monthly Fee Statements served during
            such period and prepared in accordance with the Compensation Procedures. Each
            Retained Professional shall serve notice of its Interim Fee Application (which
            identifies the Retained Professional seeking compensation, discloses the period
            for which the payment of compensation and reimbursement of expenses is being
            sought and describes the amount of compensation and expenses sought) on all

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               parties that have entered their appearance pursuant to Bankruptcy Rule 2002.
               Application Recipients will have 14 days after service of an Interim Fee
               Application to object thereto. The first Interim Fee Application should cover the
               Interim Fee Period from the Petition Date through and including March 31, 2019.
               Notwithstanding anything to the contrary in the Compensation Procedures, a
               Retained Professional may file a fee application in accordance with any
               procedures established by a chapter 11 plan filed in these cases and confirmed by
               the Court.

       f.      The Debtors will request that the Court schedule a hearing on Interim Fee
               Applications at least once every three months or at such other intervals as the
               Court deems appropriate. The Court, in its discretion, may approve an
               uncontested Interim Fee Application without the need for a hearing upon the
               Retained Professional’s filing of a CNO if no Objections are timely filed. Upon
               allowance by the Court of a Retained Professional’s Interim Fee Application, the
               Debtors shall be authorized to promptly pay such Retained Professional all
               requested fees (including the 20 percent holdback) and expenses not previously
               paid.

       g.      The pendency of an Objection to payment of compensation or reimbursement of
               expenses will not disqualify a Retained Professional from the future payment of
               compensation or reimbursement of expenses under the Compensation Procedures.

       3.      Committee Member Expenses.            The attorneys for the Committee shall be

permitted to, in accordance with these Interim Compensation Procedures, submit statements of

expenses incurred by the Committee members in their performance of the duties of the

Committee (excluding third-party counsel expenses of individual Committee members) and

supporting vouchers to the Committee’s counsel, which counsel will collect and file the

Committee members’ requests for reimbursement.

       4.      Neither (a) the payment of or the failure to pay, in whole or in part, monthly

compensation and reimbursement of expenses under the Compensation Procedures nor (b) the

filing of or failure to file an Objection with the Court will bind any party in interest or the Court

with respect to the final allowance of applications for compensation and reimbursement of

expenses of Professionals. All fees and expenses paid to Retained Professionals under the




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Compensation Procedures are subject to challenge and disgorgement until final allowance by the

Court.

         5.    In each Interim Fee Application and Final Fee Application all attorneys who have

been or are hereafter retained pursuant to sections 327 or 1103 of the Bankruptcy Code, unless

such attorney is retained by the Debtors pursuant to the Order Granting (I) Authority to Retain

and Compensate Professionals Utilized in the Ordinary Course of Business and (II) Related

Relief [Docket No. 179] shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

         6.    The Retained Professionals shall only be required to serve (a) the Monthly Fee

Statements, the Interim Fee Applications, and the Final Fee Applications on the Application

Recipients, and (b) notice of hearings on the Interim Fee Applications and Final Fee

Applications on all other parties that have filed a notice of appearance with the clerk of this

Court and requested notice of pleadings in these chapter 11 cases.

         7.    All notices given in accordance with the Compensation Procedures shall be

deemed sufficient and adequate notice and in full compliance with the applicable provisions of

the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

         8.    Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied by such notice.

         9.    All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).




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       10.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       11.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Omaha, Nebraska
Dated: _February 21, 2019                       /s/Thomas L. Saladino
                                                THE HONORABLE THOMAS L. SALADINO
                                                UNITED STATES BANKRUPTCY JUDGE




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